04/23/2018 Case
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                                                Filed 04/24/18 Page 1 of 1                                                                                   PAGE   02/04




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      April 23, 2018

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      Tue Honorable Joel H. Slomsky
      United States District Court
      Eastern District of Pennsylvania
                                                                                                                                                APR 2 4
      601 Market Street, Suite 13614
      Philadelphia, PA 19106-1748

                   R,e:            Abby Slakoff v. The Trustees,of The University of Pennsylvania et al.,
                                   U.S.D.C. Eastern Dis,rict of Pa•• Case No.: 2:18-cv-00794.J['i.§

      Dear Judge SlomsKy:

              This Firm represents Defendants, The Trustees of the University of Pennsylvania, Anne
      Cunningham, Susan Curran,- Erika Gross, and Mary Bryan, in connection with that above:
      referenced matter. Attached for Your Honor's consideration is the parties' Stipulatlon for an
      Extensjon of Time, pursuant to which the parties have agreed to an extension of time within
      which Defendants shall have to answer, move, or otherwise plead in response to Plaintiff Abby
      Slakoff's Complaint. Counsel for both parties have reviewed, approved, and signed the
      Stipulation for an Extension of Time.

                Thank you for your consideration of this matter,


                                                                              Respectfully,



                                                                             Todd Alan Ewan
                                                                             For FISHER & PHILLIPS LLP

      Enclosures

      TAE:cmm
                       1'1              .        "        .       '
      cc:      Chloe E. Gartside, Esquire (via e~mail)
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